         Case 4:14-cr-00023-KGB Document 37 Filed 03/11/14 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                              No. 4:14CR00023-003 KGB

ZACARIAS REYNOSO-LOPEZ                                                          DEFENDANT

                                         ORDER

       The motion of the United States of America to dismiss the indictment as to separate

defendant Zacarias Reynoso-Lopez is GRANTED (Dkt. No. 35). The indictment now pending

against Mr. Reynoso-Lopez is hereby dismissed.

       IT IS SO ORDERED this 11th day of March, 2014.




                                                 Kristine G. Baker
                                                 United States District Judge
